
695 S.E.2d 755 (2010)
Cathy BERARDI, Plaintiff, Employee
v.
CRAVEN COUNTY SCHOOL DISTRICT, Employer, Key Risk Insurance Company, Inc., Carrier, Defendants.
No. 213P09.
Supreme Court of North Carolina.
April 14, 2010.
J.D. Prather, for Craven Co. School District, et al.
Michael W. Bertics, for Berardi.

ORDER
Upon consideration of the petition filed on the 22nd of May 2009 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 14th of April 2010."
